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                               UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                       RALEIGH DIVISION



 In re:                                             )
                                                    )
 RANDY P. COLEY,                                    )
                                                    )         Case No. 18-02154-JNC
                                                    )         Chapter 7
                                            Debtor. )
                                                    )


 RICHARD D. SPARKMAN, Chapter 7 Trustee,              )
                                                      )
                 Plaintiff,                           )       Case No. 18-113-5-JNC
                                                      )
    -against-                                         )
                                                      )
 ITS THUNDERTIME LLC, a Delaware Limited              )
 Liability Company; RANDY P. COLEY;                   )
 KIMBERLI M. COLEY,                                   )
                                                      )
                 Defendants.                          )



                AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

          Through counsel, Richard D. Sparkman, Chapter 7 Trustee (“Trustee”) for the

 Bankruptcy Estate of Randy P. Coley, hereby seeks a Declaratory Judgment that the assets of Its

 Thundertime LLC, a Delaware Limited Liability Company (“ITT”), constitute property of the

 bankruptcy estate of Randy P. Coley (the “Debtor”) in the above-captioned Chapter 7 bankruptcy

 case. In support of his Amended Complaint, the Trustee avers as follows:

                                          JURISDICTION

          1.     This Court has jurisdiction over the subject matter of this adversary proceeding

 pursuant to 28 U.S.C. § 1334(b).
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        2.      Venue is proper pursuant to 28 U.S.C. § 1408.

        3.      This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                            PARTIES

        4.      Richard D. Sparkman is the duly appointed Chapter 7 trustee for the bankruptcy

 estate of Randy P. Coley.

        5.      ITT is a Delaware Limited Liability Company that, prior to the Debtor’s filing for

 bankruptcy, had its principal place of business in Wake County, North Carolina.

        6.      Randy P. Coley is the Debtor in the above-captioned proceeding. Upon

 information and belief, Mr. Coley is a resident and domiciliary of Wake County, North Carolina.

 Prior to filing for bankruptcy, Mr. Coley asserted an ownership interest in ITT.

        7.      Kimberli M. Coley is the Debtor’s spouse. Upon information and belief, Mrs.

 Coley is a resident and domiciliary of Wake County, North Carolina. At various times prior to

 Mr. Coley filing for bankruptcy, Mrs. Coley asserted and denied having an ownership interest in

 ITT.

             ALLEGATIONS IN SUPPORT OF DECLARATORY JUDGMENT

        8.      In January 2014, the United States District Court for the Western District of

 Virginia entered a judgment in favor of DIRECTV, LLC (“DIRECTV”) against the Debtor and

 his company, East Coast Cablevision, LLC (“ECC”).1 The court initially awarded DIRECTV

 $2,393,000.00. DIRECTV subsequently obtained an award of attorneys’ fees and sanctions and,

 including post-judgment interest, DIRECTV’s judgment against the Debtor exceeded $2.6



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   In November, 2011, East Coast Cablevision filed for Chapter 11 bankruptcy in this Court. In re
 East Coast Cablevision, LLC, 11-08976-8-RDD (Bankr. E.D.N.C.). In January 2012, the
 Honorable Randy Doub transferred venue of the bankruptcy to the United States Bankruptcy
 Court for the Western District of Virginia. 12-50041. A plan was neither proposed nor confirmed
 in that bankruptcy and the bankruptcy was dismissed on June 13, 2012.


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 million as of the Petition Date.

        9.      The Debtor and ECC did not appeal the orders of final judgment as to

 DIRECTV’s substantive claims or the award of attorneys’ fees or sanctions.

        10.     In post-judgment proceedings before the district court, DIRECTV sought to

 “reverse pierce” the corporate veil of and extend liability to several limited liability companies

 that the Debtor owned.

        11.     By Order dated July 18, 2016, the district court held certain entities affiliated with

 the Debtor to be alter egos of the Debtor including, without limitation, ITT.

        12.     Mr. Coley appealed the district court’s rulings on the post-judgment proceedings.

 Two of Mr. Coley’s LLCs, ITT and South Raleigh Air LLC, also appealed, along with Mr.

 Coley’s wife, Kimberli M. Coley. The Fourth Circuit Court of Appeals dismissed South Raleigh

 Air LLC from the appeal prior to rendering a decision in the case.

        13.     On March 28, 2018, the Fourth Circuit Court of Appeals issued an opinion that

 affirmed the district court’s decision to reverse pierce the corporate veil of ITT. The appellate

 court dismissed Mrs. Coley in conjunction with issuing its opinion on the merits.

        14.     On or about April 11, 2018, Mr. Coley and the other appellants filed a petition for

 rehearing en banc. On April 24, 2018, the Fourth Circuit Court of Appeals denied the petition for

 rehearing. The appellate court issued its mandate on July 16, 2018.

        15.     On April 30, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

 seeking relief under chapter 11 of the Bankruptcy Code.

        16.     On July 16, 2018, the Court appointed Richard D. Sparkman as the Chapter 11

 trustee for the Debtor’s bankruptcy estate.

        17.     On August 16, 2018, the Court converted the matter to a Chapter 7 proceeding




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 and appointed Mr. Sparkman as Chapter 7 Trustee.

        WHEREFORE, the Trustee respectfully prays for the following:

        1.      A declaratory judgment that the assets of Its Thundertime LLC, a Delaware

 Limited Liability Company, are included as property of the Debtor’s estate pursuant to 11 U.S.C.

 § 541 and are subject to administration by the Trustee;

        2.      That the declaratory judgment be entered without prejudice to any party in interest

 seeking a determination concerning whether assets in other entities related to the Debtor should

 or should not be included as property of the Debtor’s bankruptcy estate;

        3.      Preliminary and permanent injunctive relief to permit the Trustee to administer

 the assets of Its Thundertime LLC as part of the Debtor’s bankruptcy estate.

        4.      For the costs of the action to be taxed in favor of the Trustee;

        5.      For such further relief as the Court determines is necessary and just.

        This the 15th day of November, 2018.


                                                       /s/George F. Sanderson, III
                                                       George F. Sanderson, III
                                                       N.C. Bar No. 33054
                                                       ELLIS & WINTERS LLP
                                                       4131 Parklake Avenue, Suite 400
                                                       Raleigh, NC 27612
                                                       Telephone: (919) 865-7000
                                                       Facsimile: (919) 865-7010
                                                       george,sanderson@elliswinters.com
                                                       Counsel for the Trustee for Limited
                                                       Purposes




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                                   CERTIFICATE OF SERVICE

        I, George F. Sanderson III of ELLIS & WINTERS LLP hereby certify:

        That I am, and all time hereinafter mentioned was, more than eighteen (18) years of age

 and not a party to this action;

        I hereby certify that on November 15, 2018, a true and correct copy of the forgoing

 Amended Complaint was served by United States First Class Mail, postage prepaid, to the

 following:

        J.M. Cook
        J.M. Cook, P.A.
        5886 Faringdon Place, Suite 100
        Raleigh, NC 27609
        919 675-2411
        J.M.Cook@jmcookesq.com
        Attorney for the Debtor

        Its Thundertime LLC
        c/o Kimberli M. Coley, Registered Agent
        202 Brittany Place
        Cary, NC 27511

        Randy P. Coley
        202 Brittany Place
        Cary, NC 27511

        Kimberli M. Coley
        202 Brittany Place
        Cary, NC 27511




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      This the 15th day of November, 2018.

                                                 /s/George F. Sanderson, III
                                                 George F. Sanderson, III
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                                                 ELLIS & WINTERS LLP
                                                 4131 Parklake Avenue, Suite 400
                                                 Raleigh, NC 27612
                                                 Telephone: (919) 865-7000
                                                 Facsimile: (919) 865-7010
                                                 george.sanderson@elliswinters.com
                                                 Counsel for the Trustee for Limited
                                                 Purposes




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